







		NO. 12-08-00328-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS



NAOMI RUTH CRAWFORD,§
	APPEAL FROM THE 114TH

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


LEWIS BARBER, JR. AND

SURETY INSURANCE COMPANY,

APPELLEES§
	SMITH COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	This appeal is being dismissed for want of prosecution.  See Tex. R. App. P. 42.3(b). Appellant,
Naomi Ruth Crawford, perfected her appeal on August 6, 2008.  Thereafter, the reporter's record was
filed on October 6, 2008, making Appellant's brief due on or before November 5, 2008.  When
Appellant failed to file her brief within the required time, this court notified her on November 7, 2008
that the brief was past due and warned that if no motion for extension of time to file the brief was filed
by November 17, 2008, the appeal would be dismissed for want of prosecution under Texas Rule of
Appellate Procedure  42.3(b).  The notice further informed Appellant that the motion for extension of
time must contain a reasonable explanation for her failure to file the brief and a showing that Appellee
had not suffered material injury thereby.

	To date, Appellant has neither complied with or otherwise responded to this court's November
7, 2008 notice.  Accordingly, we dismiss the appeal for want of prosecution.  See Tex. R. App. P.
38.8(a)(1), 42.3.(b).

Opinion delivered November 26, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.


(PUBLISH)


